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                         Exhibit 2
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       Tribunal de Justir;:a
       Comarca da Capital                                                                                                          1058
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                                                                                                                            Fis.
       Processo: 0010153-50 .2024.8.19.0001
                                                                                    Processo Eletronico
       Reu preso

       Classe/Assunto: Aiyao Penal de Competencia do Juri - Homicid io Qualificado (Art. 121 , § 2° - CP);
       Furto Qualificado (Art. 155, § 4o. - CP); Homicidio Qualificado (Art. 121, § 2° - CP); Concurso de
       Pessoas (Arts. 29 a 31 - Cp)

       Auter: MINISTERIO PUBLICO
       Reu: ALEJANDRO TRIANA PREVEZ
       Reu: DANIEL SIKKEMA
       lnquerito 90 1-00047 /2024 15/01 /2024 15a Delegacia Policial




                                     Nesta data, fa90 cs autos conclusos ao MM. Dr. Juiz
                                                      Tula Correa de Mello

                                                          Em 09/02/2024




                                                       Decisao
       1) RECEBI MENTO DA DENU NCIA

       0 Ministerio Publico vem a Jufzo propor a presente aiyao penal em face de ALEJANDRO TRIANA
       PREVEZ e DANIEL SIKKEMA, qualificados nos autos, a pratica, em tese, do crime de homicid io
       qualificado , cond uta tipificada nos artigos artigo 121 , §2°, I, II, Ill, IV e §4°, in fi ne, do CPP,
       respondendo Alejandro tambem nos termos artigo 155, § 1° e § 4°, inciso Ill, ambos do C6digo
       Penal.

       Passo a avaliar o conteudo apresentado e as pretensoes inicialmente elencadas.

       A MATERIALIDADE e a AUTORIA do cri me estao indicadas pelos registros de ocorrencia e
       reg istros aditados, termos de declaraiyao (index 17, 50 , 190, 192, 315, 413 e 502), auto de
       apreensao (index 25 , 29, 136 , 137, 138, 139, 412, 717 e 722), laudos (index 140, 285, 296, 299,
       302 , 306, 309, 312, 378, 380, 388, 399, 419 , 484, 491 , 703 , 711 , 741 e 758), Relat6rio Final (index
       672) e decisao de indicia mento (index 673/674).

       A denuncia expos, com clareza , os fatos crim inosos e todas as suas circunstancias. Consta ai nda
       a qualifica9ao do denunciado e a precisa tipifica9ao dos crimes imputados. Satisfeitos, assim, os
       pressupostos contidos no art. 41 do CPP e, afastada, par consegu inte, a incidencia da regra
       contida no art. 395, I, do CPP, aplicavel em razao da analogia capitulada no art. 3° do mesmo
       diploma processual.

       Ademais, a interpretaiyao, a contrario sensu , da regra inserta no inciso II , do art. 395 c/c com 3°,
       ambos do CPP, revela que a aiyao deve ser admitida em razao da ausencia das causas de rejeiiyao
       da denuncia, haja vista a presen9a dos pressupostos processuais e condi9oes da aiyao penal.

       Ha, portanto, justa causa para a admissao da acusa9ao, a contrario sensu da regra inserta no
       inciso Ill, do art. 395, do CPP, sendo certo que, no bojo do processo, a luz dos principios do
       contradit6rio e da ampla defesa, poderao ser confirmadas, ou nao, as acusa9oes dirigidas ao



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       denunciado.

       Por essas razoes, RECEBO A DENUNC IA.

       Cite-se o denunciado para apresentar resposta escrita, no prazo de 10 (dez) dias, ocasiao em que
       podera arguir preliminares e alegar tudo o que interessa a sua defesa, alem de oferecer
       documentos, especificar provas pretendidas e arrolar testemunhas, qualifica ndo-as com o
       respective endereiyo, bem coma justificando a necessidade de sua oitiva e intimac;:ao, quando for o
       case (art. 406, §§1 ° a 3° do CPP).

       Desde ja fica ciente o advogado constituido pelo denunciado de que a defesa, consubstanciada na
       resposta a acusaiyao deve ser tecnica e que sua omissao podera ensejar o decreto de abandono
       da causa e o pagamento de multa de 10 (dez) a 100 (cem) salarios-minimos, na forma do art. 265
       do CPP.

       Fica ciente, ainda, a defesa de que nao serao deferidos requerimentos de diligencias iniciais, de
       apresentac;:ao/substituiiyao de rol de testemunhas ou de produc;:ao de provas periciais formulados
       em momenta processual distinto da resposta a acusaiyao (item 3.4.1.1 do Plano de Gestao para o
       Funcionamento de Va ras Cri minais e de Execuc;:ao Penal do CNJ ).

       Caso o denunciado, regularmente citado, nao constitua defensor nem apresente resposta no prazo
       legal, certifique-se e remetam-se os autos a DPGE para oferecer defesa, nos termos do art. 408
       do CPP.

       Efetivada a citaiyao e juntada a defesa tecnica devida, DE-SE VISTA DIRETAMENTE AO MP, nos
       termos do art. 409 do CPP.

       COM O RETORNO , VOLTEM                        CONCLUSOS           PARA      FINS      DE     APRECIA<;AO             DAS
       MANIFESTA<;OES DAS PARTES .

       2) Junte-se a FAC dos acusados, bem coma a pesquisa SIDIS. Oficie-se a Delegacia para que
       eventuais mfdias sejam acauteladas fisicamente nesta serventia.

       3) No que tange ao requerimento Ministerial de PR ISAO PREVE NTIVA dos acusados, trata-se de
       Den(mcia que imputa aos acusados as condutas de:
       "Na madrugada do dia 14 de janeiro de 2024, na Rua Abreu Fialho, casa n° 13, no bairro de
       Jardim Botanico, nesta comarca , o denunciado ALEJANDRO, com vontade livre e consciente, em
       comunhao de aiyoes e designios com o denunciado DAN IEL, com inteniyao de matar, ofendeu a
       integridade fisica de BRENT FAY SIKKEMA, golpeando-o diversas vezes com uma faca , o que lhe
       causou lesoes corporais. As lesoes causadas em BRE NT, por sua natureza e sede, foram a causa
       eficiente de sua morte, conforme laudo de necropsia acostado aos autos (anexo 26). Consta dos
       autos que BRENT FAY SIKKEMA era norte-americano e proprietario da galeria de arte "Grand
       Sikkema", em Nova York, sendo casado com o denunciado DAN IEL ate janei ro de 2023, com
       quern tinha um fi lho. Por sua vez, o denunciado ALEJANDRO trabalhou para o den unciado
       DANIEL coma seguraniya na residencia do ex-casal em Havana/Cuba. Restou apurado que o
       denunciado DAN IEL contratou o denunciado ALEJANDRO, com a promessa de pagamento da
       quantia de U$ 200.000 (duzentos mil d6Iares), para matar BRENT. Assim, seguindo o piano
       criminoso previamente ajustado, ALEJANDRO veio para o Brasil, seguindo as coordenadas
       fornecidas por DAN IEL e com auxilio financeiro prestado por este. No dia 13 de janeiro de 2024 , o
       denunciado ALEJANDRO foi ate a rua onde BRENT residia e ali permaneceu durante o dia todo,
       ag uardando no interior do veiculo Fiat/Palio, placa DID-1774. Na madrugada do dia seguinte, o
       denunciado ALEJAND RO desceu do autom6vel e, utilizando-se das chaves fornecidas pelo
       denunciado DAN IEL, entrou na residencia da vitima. Ato contfnuo, o denunciado ALEJANDRO foi
       ate o quarto da vitima, surpreendendo-a e lhe desferindo diversos golpes com facadas, ocasiao




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       em que Brent caiu desfalecido na cama, conforme laudo de exame de local constante no anexo
       196. Consigne-se que o denunciado DANIEL, alem de ser o mandante do homicidio, foi o
       responsavel par fornecer as meios (dinheiro, chaves e retina da vitima no Brasil) para que o
       denunciado ALEJANDRO praticasse o crime. Logo ap6s, nas mesmas circunstancias de tempo e
       local , em nova desfgnio criminoso, o denunciado ALEJANDRO, com vontade livre e consciente,
       subtraiu US$ 40.000,00 (quarenta mil d6Iares) e R$ 30.000,00 (tri nta mil reais), tudo de
       propriedade da vitima , que se encontrava em cima de uma c6moda no quarto. Ato continua, na
       posse do dinheiro, o denunciado ALEJANDRO saiu do im6vel, retirou as luvas que vestira para
       executar o crime e se evadiu do local, ingressando de volta no veiculo Fiat/Palio e se dirigindo a
       Sao Paulo. 0 cri me de furto foi praticado durante o perfodo de repouso noturno e com uso de
       chave falsa. 1.1. 0 crime de homicidio foi cometido mediante promessa de recompensa , eis que o
       denunciado DANIEL prometeu pagar ao denunciado ALEJANDRO o valor de US$ 200.000,00
       (duzentos mil d6Iares), bem coma lhe oferecer, sem onus, a residencia da vitima para morar. 1.2.
       0 crime de homicid io foi cometido par motive futil , em razao de desavenya quanta a divisao
       patri monial decorrente do div6rcio entre a vitima e o denunciado DANIEL. 1.3. 0 crime de
       homicidio foi cometido par meio cruel , eis que a vitima foi violentamente golpeada com dezoito
       facadas na regiao facial e t6rax. 1.4. 0 crime de homicidio foi cometido, ainda, de modo a
       impossibilitar a defesa da vitima, uma vez que esta foi surpreendida pelo denunciado
       ALEJANDRO, que entrou em sua residencia enquanto ela dormia e lhe desferiu as facadas. 1.5. 0
       crime de homicidio foi cometido contra pessoa com 75 (setenta e cinco) anos de idade."

       Em relayao as evidencias probat6rias, destaca-se as seguintes depoimentos:

       TESTEMUNHA SIMONE: "QUE a declarante comparece nesta Especializada a fim de prestar
       esclarecimentos sabre o autor dos fates, ALEJANDRO TRIANA TREVEZ; QUE o ex-marido de
       BLENT, DANIEL SIKKEMMA, e cubano; QUE BLEND conheceu DANIEL SIKKEMMA em Miami;
       QUE BLEND possu fa dais im6veis em CUBA, sendo um em Havana e outro em Varadero; QUE
       ALEJANDRO trabalhou para BLENT, nos im6veis que o mesmo possuia em Cuba; QUE
       ALEJANDRO, era administrador e segurarn;:a de confianya de BLENT; QUE a declarante nao sabe
       informar o tempo que ALEJANDRO traba lhou com BLENT, mas acredita que tenha sido em torno
       de cinco anos; QUE a declarante nao conhecia ALEJANDRO pessoalmente, mas o conhecia par
       fotos; QUE ALEJANDRO, foi contratado pelo pr6prio BLENT; QUE ALEJANDRO nao foi indicado
       par DAN IEL, e sim contratado atraves de uma agencia de empregos; QUE BLEND tambem
       contratou outro cubano, chamado CRISTIAN , na mesma ocasiao; QUE ALEJANDRO e CRISTIAN
       trabalhava na mesma furn;:ao; QUE quando perguntada se sabe informar par qual motive
       ALEJANDRO parou de trabalhar para BLENT, nao sabe dizer; QUE na data de hoje, 18/01 /2024,
       quando viu o name de ALEJANDRO nos jornais, a declarante entrou em cantata com DANIEL,
       perguntando se o mesmo tinha conhecimento de quern tinha matado BLENT; QUE DANIEL ainda
       nao tinha essa informayao , tendo o mesmo charade muito; QUE DAN IEL disse que ALEJANDRO
       cu idava do filho, LUCAS , quando estavam em Cuba; QUE a declarante perguntou para DANIEL,
       se houve alguma briga na demissao de ALEJANDRO , e o mesmo nao sabia dizer; QUE a
       declarante perguntou para DAN IEL se BLENT devia algum dinheiro para ALEJANDRO, e o mesmo
       disse que nao devia; QUE a declarante tambem perguntou para DANIEL, se BLENT tinha au teve
       alguma relayao com ALEJANDRO, o mesmo disse que nao sabia, acrescentando que BLENT era
       uma pessoa muito promiscua, e par isso que o deixou; QUE DANIEL e uma pessoa muito decente;
       QUE BLENT queria voltar para DANIEL, mas o mesmo nao queria; QUE DAN IEL disse para a
       declarante que ALEJANDRO andou ligando para ele, mas nao sabe dizer o que conversavam;
       QUE DANIEL nao tinha nada para falar com ALEJANDRO; QUE quando perguntada se
       ALEJANDRO e homossexual, informa que sim; QUE durante a pandemia, BLENT e DANIEL,
       foram morar em CUBA, ocasiao em que ficavam integralmente com ALEJANDRO, que ja
       trabalhava para eles; QUE quando acabou a pandemia, BLENT, DAN IEL e o filho, voltaram a
       moram em Nova York; QUE quando voltaram para NY, quern pagava ALEJANDRO era a tia de
       DANIEL que mora em Cuba, com dinheiro dado par BLENT; QUE a declarante nao sabe informar
       quando e par qual motive ALEJANDRO nao trabalhava mais para BLEND, porem coma o mesmo




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       era seguran9a do im6vel em Havana, e coma BLENT havia colocado a casa em name dessa tia, a
       mesma foi morar no im6vel, dizendo que era dela; QUE acredita que par este motivo, BLENT
       demitiu ALEJANDRO, pois nao precisava mais de seus servi9os; QUE BLENT esteve no Brasil no
       ano passado (2023), tendo chegado no Rio de Janeiro , em 19/07/2023, e saido no dia 29/07/2023;
       QUE quando BLENT estava no RJ , em julho/2023 , o mesmo comentou com a declarante que iria
       encontrar com o ex-fu ncionario dele, ALEJANDRO; QUE a declarante nao sabia o motivo pelo qual
       BLENT iria encontrar com ALEJANDRO; QUE a declarante soube que BLENT teria ido para Cuba
       ha poucos meses; QUE ao olhar no passaporte de BLENT, consta que o mesmo chegou em Cuba
       em 14/10/2023; QUE nao tern a data de sa ida de Cuba no passaporte de BLENT; QUE BLENT
       nao comentou mais nada de ALEJANDRO com a declarante; QUE a declarante desconhece o
       motivo de ALEJANDRO ter matado BLENT; QUE pode ser que ALEJANDRO e BLENT estivesse
       tendo um caso, apesar de nao ter comentado nada sabre isso; QUE BLENT ajudava ALEJANDRO
       financeiramente, coma outros tambem; QUE BLENT era uma pessoa generosa; QUE quando foi
       realizada a arrecada9ao da imagens no local do fato, pela equipe de investiga9ao de segmento, no
       dia 16/01/2024 , foi encontrado um chaveiro em cima da mesa da casa, local do fato, que foi
       entregue para declarante; QUE no referido chaveiro possuia a chave de entrada da casa, e a
       chave do cofre; QUE a declarante possuia a senha do cofre, e nao a chave do mesmo; QUE o
       cofre da casa de BLENT, abre com chave, ou com senha ; QUE no dia em que a declarante
       encontrou o corpo de BLENT, no dia 15/01 /2024 , o policial militar, comunicante da ocorrencia,
       perguntou para declarante se tinha o documento do mesmo; QUE a declarante disse que tinha o
       passaporte de BLENT, e que o mesmo deveria estar no cofre, e que entao o pol icial pediu para
       que abrisse o mesmo; QUE a declarante colocou uma luva, e abriu o cofre, oportunidade em que
       pegou o documento, e que nao havia dinheiro no cofre; QUE coma a declarante disse
       anteriormente, BLENT costumava deixar o dinheiro na bancada de seu quarto, ou em uma caixa
       redonda que ficava tambem na bancada; QUE DANIEL e BLEND se casaram no dia 09/12/1993, e
       que a dissolu9ao do matrim6nio, estava em andamento; QUE a separa9ao de fato, entre BLENT E
       DANIEL, se deu em janeiro de 2022; QUE ap6s a separa9ao, em 2022, BLENT, alterou o
       testamento, colocando todo patrim6nio que estava em name de DAN IEL, em name do fi lho; QUE
       BLENT possuia dais testamentos, um confeccionado em Nova York, e o que outro confeccionado
       em rela9ao aos bens no Brasil; QUE BLENT quanta alterou seu testamento, enviou para
       declarante; QUE DANIEL SIKKEMMA, nao sabia do teor da altera9ao, porem sabia que BLENT
       faria altera96es; QUE em rela9ao aos im6veis de CUBA, um im6vel j a estava em name do filho, e
       outro em name de uma tia de DANIEL; QUE na data de ontem , 17/01/2024, a declarante passou
       para DAN IEL o tear do testamento; QUE a declarante nao sabe a senha do telefone celular de
       BLENT, pois o mesmo mudava sempre; QUE quern mudava a senha do telefone celular de BLENT
       era o suporte de informatica pessoal e da galeria de BLENT; QUE a declarante falou com a
       funcionaria , MEG - +1 (917) 2503616, que iria falar com a pessoa responsavel sabre a senha;
       QUE a declarante acredita que BLENT estava dormindo quando foi esfaqueado; QUE BLENT
       tinha o costume em dormir pelado com uma toa lha par baixo do corpo, do jeito em que foi
       encontrado; QUE nada mais disse;"

       0 acusado ALEJANDRO, cubano, no index 413 confessa pormenorizadamente o delito de
       Homicidio Qualificado, explicitando todas as suas rela96es preteritas com DAN IEL SIKKEMA, ex
       marido da vitima, apontando-o coma autor mediate do delito, as promessas de recompensa feitas
       par DANIEL em troca da morte da vitima , as transferencias monetarias ja realizadas, negando,
       contudo, que tenha subtraido qualquer pertence da vitima: QUE presta seu termo de declara9ao
       acompanhado dos seus advogados Dr. GREGORIO ANTON IO FERNANDES DE ANDRADE,
       OAB/M G: 166925 e EDNA FERREIRA DE CASTRO LOURENCO BARCELOS, OAB/RJ: 226784;
       QUE neste ato esta ciente de seus direitos constitucionais, inclusive de permanecer calado, mas
       opta par dar sua versao dos fatos; QUE presta depoimento no interior da Cadeia Publica Joaquim
       Ferreira de Souza, onde encontra-se detido; QUE inicialmente, o declarante gostaria de relatar que
       esta extremamente arrependido e encontra-se em depressao em razao do cri me cometido contra a
       vitima BRENT SIKKEMA; QUE o declarante trabalhava coma professor em uma escola politecn ica
       em Havana , Cuba; QUE em 20 19, seu av6 materno fa lece e o declarante precisava de mais




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       dinheiro para ajudar a sustentar a famil ia; QUE o declarante passa a procurar emprego no
       Facebook e encontrou uma vaga para trabalhar coma segurani;:a em uma casa situada na regiao
       conhecida como Bosque, em Havana; QUE essa regiao e cercada por bases militares cubanas;
       QUE o anuncio havia sido veiculado par DANIEL SIKKEMA, ex-marido da vitima ; QUE foi o pr6prio
       DANIEL que entrevistou e contratou o declarante; QUE o declarante prestou o servii;:o militar
       obrigat6rio em Cuba , tendo inclusive integrado as fori;:as especiais do exercito cubano (Boinas
       Verdes); QUE DAN IEL sabia disso e, por isso o declarante foi recrutado para guardar a casa no
       Bosque; QUE na maier parte do ano, a casa ficava vazia, DANIEL, que morava em Nova York, s6
       visitava o im6vel algumas semanas durante o ano; QUE apesar da casa ser cercada par bases
       militares, DANIEL tem ia por sua segurani;:a, pelo fato de ter cidadan ia dupla: cubana e americana;
       QUE o fato de DANIEL ser americano, ter renunciado a cidadan ia cubana, ter casado com um
       americano e ser homossexual , nao era bem visto pelo regime cubano, o que deixava a
       propriedade vulneravel a pratica de crimes; QUE trabalhou nessa casa par um ano e, durante esse
       tempo , nunca viu BRENT SIKKEMA; QUE DANIEL visitava a casa apenas com LUCAS, filho do
       casal; QUE BRENT costumava visitar Cuba , mas nunca ficava na casa do Bosque; QUE o
       declarante acredita que BRENT nunca residiu em Cuba; QUE BRENT tinha uma cobertura em
       Havana que acredita estar no name da prima de DANIEL, cujo nome nao sabe informar; QUE a
       casa do Bosque o declarante acredita estar no nome de BRENT; QUE o declarante decide vir ao
       Brasil, pois o salario que recebia como segurani;:a ja nao era suficiente para sustentar a si e sua
       fam ilia; QUE o declarante consegue o vista brasileiro em dezembro de 2021 e muda-se para o
       Brasil em setembro de 2022, instalando-se em um im6vel na cidade de Sao Paulo que pertencia a
       ROSE REIS DE SOUZA, amiga de sua mae; QUE chegando ao Brasil, passou aproximadamente
       um mes na casa de ROSE e depois mudou-se para uma kitnet que pertencia a ROSE; QUE pagou
       cerca de dois meses de aluguel para ROSE, ate o momenta em que esta o desobriga de paga-la
       qualquer valor; QUE o declarante se sustentava rea lizando bicos; QUE desde que parou de
       trabalhar como segurani;:a, deixou de se comun icar com DANIEL tendo retomado o contato
       somente em 2023; QUE acredita que em novembro de 2022 , ROSE tenha dado ao declarante um
       telefone XIAOMI REDMI 9A, tendo em vista que o telefone Samsung J4 que trouxe de Cuba nao
       funcionava bem; QUE durante a habilitai;:ao desse novo celular, o declarante fez o download de
       seus contatos antigos que estavam armazenados na nuvem; QUE percebeu o contato de DANIEL,
       mas s6 foi procura-lo no meio do ano de 2023; QUE como ja HMM muitos meses que nao falava
       com DAN IEL, o declarante resolveu mandar uma mensagem de Whatsapp para saber como
       DANIEL estava; QUE DANIEL disse que estava passando par um dificil processo de div6rcio com
       BRENT ao que o declarante respondeu que poderia dar apoio emocional , caso necessario; QUE
       cerca de 10 minutos depois, DANIEL liga para o declarante e conta todos os problemas que tinha
       com BRENT; QUE DAN IEL reclamava do baixo valor da pensao que BRENT repassava para
       DANIEL; QUE DAN IEL dizia que BRENT gastava muito dinheiro com drogas, festas e garotos de
       programa e nao sobrava o suficiente para ajudar no sustento de LUCAS; QUE DAN IEL ofereceu $
       200.00,00 (duzendo mil d6Iares) ao declarante caso este concordasse em matar BRENT; QUE
       alem disso, DANIEL tambem prometeu ao declarante que passaria a ajuda-lo financeiramente no
       que o declarante precisasse; QUE DAN IEL prometeu ao declarante que este poderia passar a
       morar na casa situada a Rua Abreu Fialho, 13, no Jardim Botanico, cuidando do im6vel coma
       caseiro; QUE o declarante disse que iria pensar na proposta; QUE de Nova York, atraves da
       empresa Western Union, DANIEL passa a enviar d6Iares ao declarante; QUE a primeira remessa
       foi d $300,00 (trezentos d6Iares), a segunda de $1000,00 (mi l d6Iares) e as demais em torno de
       $500,00 (quinhentos d6Iares) mensalmente; QUE as transferencias, em sua maioria , eram
       enviadas por um homem de nome PEDRO de Nova York; QUE o declarante acredita que uma
       dessas transferencias tenha sido feito em name de DANIEL, mas nao tern certeza; QUE DANIEL
       tinha acesso a conta do site AirBnB de BRENT e, atraves disso, conseguia monitorar as viagens
       da vitima; QUE DAN IEL instrui o declarante a tirar uma CNH brasileira , comprar um telefone
       celular nova e informa os dados e o enderei;:o de BRENT no Rio de Janeiro; QUE foi perguntado
       se o declarante possui intimidade com DAN IEL SIKKEMA, e responde que o seu contato com ele
       era profissional; QUE diz que, com o tempo de trabalho, passou a ter proximidade com o filho de
       DANIEL, LUCAS, e diz que sentia carinho por ele; QUE considera DAN IEL uma pessoa




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       manipuladora; QUE o cantata de DAN IEL no celular do declarante estava salvo coma "DANIEL
       BOSS" e tambem coma "ZALGU IEN";QUE com rela9ao ao cantata ZALGU IEN , o declarante
       afirma que foi DANIEL quern o instruiu a nao salva-lo com o name verdadei ra; QUE esse e o
       contato atual de DAN IEL nos Estados Unidos; QUE DAN IEL disse ao declarante que comprasse
       um chi p de celular, para que fosse habilitado no telefone do declarante e, dessa forma, fosse
       passado a DA NIEL o c6d igo de acesso do Whatsapp; QUE o declarante assim o fez e o numero
       de CPF que seria utilizado para cadastrar a linha foi informada par DAN IEL; QUE DANIEL enviou
       uma foto de um documento, que o declarante nao sabe qual e, mas que continha a referida
       informa9ao; QUE o declarante nao lembra quern era a pessoa titular do CPF, sabendo apenas que
       o primeiro name era MARIA; QUE o declarante nao sabe quern e essa MARIA ; QUE DANIEL
       utilizaria essa linha exclusivamente para comunicar-se com o declarante via Whatsapp utilizando
       uma rede Wi-Fi ; QUE as liga96es e mensagens eram sempre por Whatsapp e o name do cantata
       era RAIMUNDO DOMINGUEZ e o numero era +55 (11 ) 99243-3295; QUE antes de julho de 2023
       (nao sabe precisar quando), DANIEL envia ao declarante, pelo correio, a c6pia da chave da casa
       situada a Rua Abreu Fialho, 13, Jardim Botanico; QUE DANIEL envia a chave de Nova York e 0
       declarante va i busca-la em uma unidade da empresa OHL, em Sao Paulo; QUE o declarante, em
       julho ou agosto de 2023, vem ao Rio de Janeiro no intuito de planejar coma executaria o cri me;
       QUE o declarante hospeda-se em uma casa no Jardim Botanico, pr6ximo ao endere90 da vitima, e
       as despesas eram pagas com os d6Iares enviados par DANIEL; QUE alugou a casa pelo site
       AirBnB; QUE nessa epoca ainda estava decidindo se aceitaria ou nao a proposta de DAN IEL;
       QUE DAN IEL tinha dito ao declarante que BRENT nao estaria em casa nesse periodo; QUE foi ao
       Rio de Janeiro e voltou a Sao Paulo de 6nibus; QUE retornou ao Rio de Janeiro em dezembro de
       2023; QUE novamente foi de 6nibus e hospedou-se; em uma casa no Jardim Botan ico, alugada
       pelo AirB nB; QUE DAN IEL havia lhe avisado que BRENT estaria em casa dessa vez; QUE o
       declarante entrou na residencia utilizando a chave enviada par DANIEL; QUE no interior da casa
       ligou para DAN IEL e informou que BRENT dormia no quarto e que a porta estava trancada ; QUE
       DANIEL instru iu declarante a fazer alga para tirar BRENT do quarto, mas o declarante ainda esta
       indeciso; QUE o declarante desliga o disjuntor da residencia para for9ar BRENT a sair do quarto;
       QUE o declarante nota que BRENT acorda , mas, muito nervoso, 0 declarante resolve deixar a
       casa , sem praticar o homicfdio; QUE o declarante afirma que DAN IEL o instru iu a dizer a BRENT,
       case fosse descoberto no interior da residencia, que era filho de SIMONE, sua advogada; QUE o
       declarante retorna a Sao Paulo; QUE DAN IEL se aborrece com o declarante e para de lhe enviar
       dinheiro, dizendo "SE NAO QUISER FAZER ISSO, NAO FAZ, MAS ESQUECE QUE EU EXISTO";
       QUE sem receber dinheiro de DAN IEL, o declarante passa a trabalhar realizando entregas pela
       empresa Mercado Livre, uti lizando um FIAT/PALIO que lhe foi emprestado par ROSE; QUE nem
       ROSE nem ninguem de sua familia sabia do piano de assassinar BRENT; QUE o declarante,
       vendo-se sem dinheiro para se sustentar e enviar para sua familia em Cuba, decide aceitar a
       proposta de DAN IEL; QUE aproveitando-se que estava com o carro de ROSE a sua disposi9ao, ja
       que esta havia viajado, o declarante parte para o Rio de Janeiro no dia 13/01/2024 de manha
       cedo; QUE chega ao Rio de Janeiro par volta das 14h e inicia lmente permanece estacionado em
       uma rua perpendicu lar a Rua Abreu Fialho; QUE por volta das 16h30min, estaciona o veiculo na
       Rua Abreu Fialho, pr6ximo a casa de BRE NT; QUE em determinado momenta, passa ao banco
       traseiro do veicu lo para que nao fosse vista pelos pedestres; QUE por volta das 03h30min do dia
       14/01/2024 , o declarante percebe que a rua estava sem movimento e decide
         adentrar a residencia e executar o crime; QUE o declarante, utilizando a chave enviada par
       DANIEL, entra no im6vel; QUE DAN IEL havia avisado ao declarante que BRENT estava em casa
       e que este s6 dormia a base de remedies; QUE o declarante entrou em silencio e revistou todos os
       c6modos para garantir que BRE NT estava sozinho; QUE dirigiu-se ate a cozinha de onde retirou
       do faqueiro a faca utilizada no crime; QUE subiu as escadas com cuidado para nao fazer ruido e
       dirigiu-se ao quarto de BRE NT e, ao abrir a porta, encontrou a vitima deitada na cama; QUE se
       recorda de ter efetuado cerca de quatro facadas na vitima; QUE ao confi rmar que BRENT estava
       morto o cobriu com o cobertor, almofadas e toalhas, tendo em vista que nao queria ficar olhando
       para o rosto da vitima; QUE retornou a cozinha, lavou as macs e a faca na pia e devolveu a faca
       ao faqueiro; QUE saiu da casa , entrou no carro e retornou a Sao Paulo; QUE logo ap6s entra r no




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       ca rro, liga para a linha+55 (11 ) 99243-3295 para fa lar com DAN IEL, mas este nao atende; QUE
       par volta das 07h do dia 14/01 /2024, DAN IEL liga para o declarante e este lhe conta detalhes do
       ocorrido; QUE DANIEL havia dito que se livraria do celular que usava para se comunicar com o
       declarante ap6s o crime; QUE DAN IEL instruiu o declarante a apagar o registro de chamadas, mas
       o declarante nao o fez; QUE chega em Sao Paulo, vai para casa, toma banho e tenta dormir, mas
       nao consegue; QUE o declarante estaciona o PALIO na casa de ROSE; QUE DAN IEL entra em
       cantata com o declarante atraves do numero de sua parente MAYRA, dizendo que a poHcia do Rio
       de Janeiro j a possu ia imagens do declarante e a placa do ca rro utilizado; QUE DANIEL disse que
       o declarante deveria sair do Brasil; QUE o declarante faz uma pesquisa na internet e verifica que a
       noticia da morte de BRE NT ja havia sido divulgada na midia; QUE vi u imagens de si mesmo e do
       PALIO nas reportagens; QUE o declarante sai de Sao Paulo dirigindo um PALI WEEKEND que
       havia com prado com o dinheiro enviado par DAN IEL; QUE o declarante levava consigo $3000 ,00
       (tres mil d6Iares) e R$3100,00 (tres mil e cem reais) que DAN IEL havia lhe enviado pelo correio;
       QUE o declarante havia comprado uma besta pelo site Mercado Livre pelo valor R$ 2300,00 (dais
       mil e trezentos reais) e planejava utiliza-la para matar BRENT; QUE chegou a levar a besta
       consigo no dia 13/01 /2024 e a deixou dentro do carro; QUE em determ inado momenta, puxa o
       banco do ve iculo para tras para armar a besta; QUE o declarante desistiu de utilizar a besta e
       optou par usar uma faca ; QUE afirma nao conhecer BELKIS ZULUETA; QUE para se com unicar
       com o declarante, DAN IEL tambem utilizava o telefone de MAYRA, que e prima ou tia de
       DANIEL;QUE DAN IEL s6 passou a usar o cantata de MAYRA ap6s o crime; QUE o declarante nao
       conhece MAYRA, mas sabe que mora com DANIEL em Nova York; QUE DAN IEL disse ao
       declarante que estava com problemas com uma prima , cujo name o declarante nao sabe informar;
       QUE BRENT teria transferido um im6vel para essa prima, pois ninguem pode ter mais de uma
       propriedade em Havana; QUE a pri ma teria se apossado do im6vel e recusava-se a sair; QUE
       DANIEL procurava alguem em Cuba que estivesse disposto a dar uma su rra no marido dessa
       prima e chegou a pedir indica9ao a ALEJANDRO; QUE essa prima pedia $20.000,00 (vinte mi l
       d6Iares) para sair da casa ; QUE ALEJANDRO afirma que nao subtraiu nenhum pertence de
       BRENT da residencia; QUE o declarante disse nao ter vista nenhum dinheiro ou cofre na casa;
       QUE DAN IEL disse ao declarante que estava preocupado com o relacionamento que BRENT
       estava mantendo com um uruguaio ou parag uaio, e que isto poderia de alguma forma , prej udicar
       DANIEL na reparti9ao dos bens; QUE o declarante planejava fugi r pela frontei ra com o Peru. E
       nada mais disse."

       Segundo o Laude de Necropsia: "( ... ) observam-se multiplas feridas anguladas, incisas e
       perfuroincisas, lineares, algumas superficiais (par mecanismo de deslizamento ), outras profundas
       (par mecanismo de pressao e perfura9ao), com bordas e vertentes regulares, localizadas na face e
       tronco , totalizando 18 (dezoito) a96es cortantes e perfurocortantes; dentre as lesoes uma delas
       transversal na por9ao anterior do pesco90 que nao atingiu a traqueia ou os vases cervicais; as
       lesoes que perfuraram estao concentradas no hemit6rax esquerdo; nao ha lesoes de defesa nos
       membros superiores (... )"

       Trata-se de crime que possui gravidade concreta, com grande repercussao social, tratando-se de
       vftima estrangeira residente no Brasil, cometido segundo os indfcios, mediante paga, par motive
       futile com diversas facadas, sem defesa da vitima.

       Os acusados sao estrangeiros , sendo que DANIEL encontra-se em Local incerto e nao sabido
       (supostamente no exterior) e ALEJANDRO confessa que pretend ia fugir pela fronteira com o Peru
       ap6s ser descoberto.

       Desta forma, presentes indicios da autoria, em que pese se tratar a prisao de medida excepcional
       na ordem constitucional, a qual somente se justifica para acautelar interesses que se sobrepoem
       ao ius libertatis do indiv fduo, as circunstancias que norteiam a apura9ao do fato estao a
       recomendar a ado9ao da medida de cautela, pelo que DECRETO AS PR ISOES PREVENTIVAS de
       ALEJANDRO TRIANA PREVEZ e DAN IEL SI KKEMA, o que fa90 com fulcro nos arts. 311 e 312,




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       do C6digo de Processo Penal , para garantia da ordem publica, por conveniencia da instrU(;:ao
       criminal e para garantia da futura aplicai;:ao da lei penal , tratando-se de medida absolutamente
       imprescindivel para resguardar as meios e as fins da presente a9ao penal , nao sendo suficientes
       as Medidas Cautelares previstas no Art. 319 do CPP.

       Expe9am-se os Mandados de Prisao, com prazo de 20 (vinte) anos para cumpri mento, bem como
       as comun ica96es devidas.

       3) Considerando que ha noticias de que o acusado DAN IEL se encontra no exterior, encaminhe-se
       o Mandado de Prisao a difusao Vermelha da Interpol (Red Notice), atraves do cana l competente
       da Policia Federal. Desde ja este ju fzo compromete-se a requerer a extradii;:ao do acusado, no
       caso de localizai;:ao e prisao no exterior.

       Considerando o final de Semana e Feriado, bem coma a possibilidade de deslocamento do
       acusado - tambem no exterior - onde supostamente se encontra , encaminhem-se o Mandado de
       Prisao, as principais pei;:as (Denuncia; Decisao; foto do acusado - se houver; oficio solicitando a
       inclusao, contendo a transcrii;:ao legal do tipo penal imputado e o compromisso assumido por este
       juizo) ao Plantao Judiciario para que estabele9a cantata com o setor competente da Policia
       Federal.

       4) De-se cie ncia as partes. Publique-se, Registre-se, lntime-se e Cumpra-se.

                                                   Rio de Janeiro, 09/02/2024.


                                              Tula Correa de Mello - Juiz Titular



                                                 Autos recebidos do MM. Dr. Juiz

                                                         Tula Correa de Mello

                                                        Em __/__/_ _




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                                        R EPU BLI C A FE DERA TIV A DO BRA S IL
                                         FE D E R A TI VE R E P UBL I C OF BR A ZIL
                                      A N TO N IO DARI ANT UN E S ZHBANOV A
                          TRADUTOR PU.BUCO E INTERPRETE CO!vlERCIAL·- CERTIFIED PUBLIC TRANSLATOR
                                          ldioma/Language: Ingles - Portugues/English - Portuguese
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      TRANSLATION No. WT- 31180                                 BOOK No. 214                                         PAGE No. 001



    I, the undersigned Sworn Translator and Commercial Interpreter, hereby CERTIFY this is the
    description and faithful translation of a DOCUMENT written in Portuguese, which I translate as
    follows:

   State of Rio de Janeiro Judiciaiy Branch
   Court of Justice
   Judicial District of the Capital
   Registty Office of the 3rd Criminal Com1
   Av. Erasmo Braga, 115 Lainina 2 / Sala 908 CEP: 20020-903 - Downtown - Rio de Janeiro - RJ email: cap03vcri@tjrj.jus.br
   Pages
   Process: 0010153-50.2024.8.19.0001
   Electronic Process
   Defendant aITe.sted
   Class/Subject: Jmy's Criminal Action - Aggravated Homicide (Al.1. 121, Paragraph 2 - CP); Qualified Theft (Alt. 155,
   Paragraph 4 - CP); Aggravated Homicide (Al.1. 121, Paragraph 2 - CP); Joinder of Defendants (Arts. 29 to 31 - Cp)
   Claimant: PROSECUTION OFFICE
   Defendant: ALEJANDRO TRIANA PREVEZ
   Defendant: DANIEL SIKKEMA
   Inqui.Jy 901 -00047/2024 01/15/2024 15th Police Station
                                       On this date, I submit the completed records to Honorable Judge
                                                               Tula Con-ea de Mello
                                                                  On 02/09/2024
                                                                     Decision
   1)       RECEIPT OF THE COMPLAINT
   The Prosecution Office comes to Court to propose this cri.Jni.J1al action agai.Jist ALEJANDRO TRIANA PREVEZ ai1d
   DANIEL SIKKEMA, qualified in the case file, as committing, i.J1 theo1y , the crime of aggravated homicide, conduct typified ill
   aiti.cles aiti.cle 121, Pai·agraph 2, I, II, III, IV and Paragraph 4, in fine, of the CPP, Alejandro also responding under aiti.cle 155,
   Pai·agraph 1 and Pai·agraph 4, item III, both of the Pena] Code.
   I proceed to evaluate the content presented and the intentions mi.ti.ally listed.
   The MATERIALITY and AUTHORSHIP of the cri.Jne ai·e illdicated by the occurrence records and added records, tenns of
   declaration (illdex 17, 50, 190, 192, 315, 413 and 502), arrest report. (index 25, 29, 136, 137, 138, 139, 412, 717 and 722),
   repo11s (Index 140, 285, 296, 299, 302, 306, 309, 312, 378, 380, 388, 399, 419, 484, 491.703, 711.741 and 758), rep011 Filial
   (illdex 672) and indicttnent decision (illdex 673/674).
   The complaint clearly exposed the cri.Jnillal facts and all their ci.J·cunistai1ces. It also illcludes the qualification of the accused
   ai1d the precise typification of the crimes chai·ged. Therefore, the assumptions contained in art. 41 of the CPP and, therefore,
   the application of the rule contained ill rut. 395, I, of the CPP, applicable due to the analogy set fo11h in ai1. 3 of the same
   procedural diploma.
   Fm1hennore, the interpretation, a contrario sensu, of the rule inserted ill item II of art. 395 c/c with 3, both from the CPP,
   reveals that the action must be admitted due to the absence of reasons for rejecti.J1g the complai.J1t, given the presence of the
   procedural assumptions and conditions of the criminal action.
   There is, therefore, a cause for the admission of the accusation, a contrario sensu to the rule illse11ed in section III, of art. 395,
   of the CPP, it is certain that, wi.thi.J1 the process, in light of the principles of contt·adi.ct01y and broad defense, the accusations
   di.J·ected against the accused may or may not be corlfinned.
   For these reasons, I RECEIVE THE COMPLAINT.
   Tue defendai1t must be summoned to present a written response, wi.thi.J1 ten (10) days, at which ti.Jne he will be able to raise
   preli.Jni.Jiary ai·guments and allege everything that is relevai1t to his defense, in addition to offering documents, speci.fyillg the
   desi.J·ed evidence and calli.J1g wit11esses, qualifyi.J1g them with the respective address, as well as justifyi.J1g the need for its
   hearillg and subpoena, when applicable (rut . 406, Paragraphs 1 to 3 of the CPP).
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                                       R EPU BLI C A FE DERA TIV A DO BRA S IL
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      TRANSLATION No. WT- 31180                                BOOK No. 214                                         PAGE No. 002

   The lawyer appointed by the defendant is now aware that the defense, embodied in the response to the accusation, must be
   technical and that his omission may result in the decree abandoning the case and the payment of a fine of ten (10) to 100 (one
   hundred) minimum wages, in accordance with ait. 265 of the CPP.
   The defense is also aware that requests for initial investigations, presentation/replacement of a list of witnesses or production
   of expett evidence formulated at a procedural point other than the response to the accusation will not be granted (item 3.4.1.1
   of the Management Plan for the Operation of Criminal and Penal Execution Comts of the CNJ).
   If the accused, regulai·ly summoned, does not constitute a defender or present a response within the legal deadline, make sme
   and send the case to DPGE to offer a defense, in accordance with art. 408 of the CPP.
   Once the summons has been serv ed and the due technical defense has been attached, REPORT DIRECTLY TO THE
   PROSECUTION OFFICE, under the terms of art. 409 of the CPP.
   WITH THE RETURN, IT SHALL BE RETURNED CONCLUDED FOR THE PURPOSE OF APPRECIATING THE
   PARTIES' MANIFESTATIONS.
   2)      Join the FAC of the accused as well as the SIDIS search. Inf01m the Police Station so that any media can be physically
   taken care of in this service.
   3)      Regarding the Ministerial request for PREVENTIVE PRISON of the accused, it is a Complaint that imputes to the
   accused the conduct of:
   "In the early homs of Jarma1y 14, 2024, at Rua Abreu Fialho, house no. 13, in the Jardim Botanico neighborhood, in this
   district, the accused ALEJANDRO, with free arid conscious will, in communion of actions arid designs with the accused
   DANIEL, with the intention of killing, offended the physical integrity of BRENT FAY SIKKEMA, striking him several times
   with a knife, which caused bodily injuries. The injuries caused to BRENT, due to their nature and thirst, were the efficient
   cause of his death, according to the autopsy report attached to the file (appendix 26). It appear·s from the file that BRENT FAY
   SIKKEMA was N01th Americar1 and owner of the a1t gallery "Grand Sikkema", in New York, being mai.Tied to the accused
   DANIEL until January 2023, with whom he had a son. In tum, the accused ALEJANDRO worked for the accused DANIEL as
   a security guard at the former couple's residence in Havana/Cuba. It was discovered that the accused DANIEL hired the
   accused ALEJANDRO, with the promise of payment of the arnount of two hundred thousand US dollar·s (USD 200,000), to
   kill BRENT. Thus, following the previously agreed crinrinal plan, ALEJANDRO came to Brazil, following the coordinates
   provided by DANIEL and with financial assistance provided by him. On Janua1y 13, 2024, the accused ALEJANDRO went to
   the street where BRENT lived and remained there throughout the day, waiting inside the Fiat/Palio vehicle, license plate DID-
   1774. In the eai·ly hours of the following day, the accused ALEJANDRO got out of the car· arid, using the keys provided by the
   accused DANIEL, entered the victim's residence. Innnediately, the accused ALEJANDRO went to the victim's room,
   surprising him and stabbing him several times, at which time Brent fell unconscious on the bed, according to the site
   exanrination rep01t contained in Annex 196. It should be noted that the accused DANIEL, in addition to being the person who
   ordered the murder, was responsible for providing the means (money, keys and the victin11s routine in Drazil) for the a.ccused
   ALEJANDRO to commit the crime. Soon after, under the same circumstances of time and place, with a new criminal design,
   the accused ALEJANDRO, with free and conscious will, stole forty thousand US dollars (USD 40,000.00) and thirty thousar1d
   Brazilian Reais (BRL 30,000.00), all belonging to the victim, which was on top of a dresser in the bedroom. Immediately, in
   possession of the money, the accused ALEJANDRO left the property, removed the gloves he had worn to cany out the crime
   arid fled the scene, getting back into the Fiat/Palio vehicle and heading to Sao Paulo. The crime of theft was cormnitted during
   the rright's rest period and using a false key. 1.1 . The crime of h01nicide was cormnitted with the pronrise of a reward, and the
   accused DANIEL pronrised to pay the accused ALEJANDRO the at11ount of two hundred thousand US dollar·s (USD
   200,000.00), as well as offering him, free of char·ge, the victim's residence to live in. 1.2. The crime of honricide was
   committed for a futile reason, due to a disagreement regai·ding the division of assets resulting from the divorce between the
   victim and the accused DANIEL. 1.3. TI1e crime of honricide was conunitted by cmel mear1s, as the victim was violently
   stabbed witl1 eighteen stab wounds to the facial and chest region. 1.4. The crime ofhonricide was also cormnitted in such a way
   as to make it impossible for the victim to defend himself, as he was surprised by the accused ALEJANDRO, who entered his
   residence while he was sleeping and stabbed him. 1.5. The crime of h01nicide was conunitted against a person of seventy-five
   (75) years old."
   Regarding the probative evidence, the following statements stand out:
   WITNESS SIMONE: "THAT the declai·ant appear·s in tlris Specialized Comt in order to provide clai·ifications about the autl1or
   of the facts, ALEJANDRO TRIANA TREVEZ; THAT BLENT's ex-husband, DANIEL SIKKEMMA, is a Cubar1 citizen;
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                                           ldioma/Language: Ingles - Portugues/English - Portuguese
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      TRANSLATION No. WT- 31180                                BOOK No. 214                                         PAGE No. 003

   THAT BLEND met DANIEL SIKKEMMA in Miami; THAT BLEND owned two properties in CUBA, one in Havana and the
   other in Varadero; THAT ALEJANDRO worked for BLENT, in prope1ties he owned in Cuba; THAT ALEJANDRO was
   BLENT's trusted administrator and security guard; THAT, the declarant does not know how long ALEJANDRO worked with
   BLENT, but believes it was around five years; THAT the declarant did not know ALEJANDRO personally, but knew him
   from photos; THAT ALEJANDRO, was hired by BLENT himself; That ALEJANDRO was not recommended by DANIEL,
   but hired through an employment agency; THAT BLEND also hired another Cuban citizen, called CRISTIAN, on the same
   occasion; THAT ALEJANDRO and CRISTIAN worked in the same role; THAT, when asked ifhe knows why ALEJANDRO
   stopped working for BLENT, he cannot say; THAT on today, 01/18/2024, when he saw ALEJANDRO's name in the
   newspapers, the declarant contacted DANIEL, asking ifhe was aware of who had killed BLENT; THAT DANIEL still did not
   have this info1mation, and he cried a lot; THAT DANIEL said that ALEJANDRO took care of his son, LUCAS, when they
   were in Cuba; THAT the declarant asked DANIEL if there was any fight during ALEJANDRO's dismissal, and he could not
   say it; THAT, the declarant asked DANIEL ifBLENT owed any money to ALEJANDRO, and he said he didn't owe it; THAT
   the declarant also asked DANIEL ifBLENT had or have any relationship with ALEJANDRO, he said he did not know, adding
   that BLENT was a ve1y promiscuous person, and that's why he left him; THAT DANIEL is a ve1y decent person; THAT
   BLENT wanted to return to DANIEL, but he did not; THAT DANIEL told the declarant that ALEJANDRO had been calling
   him, but he could not say what they were talking about; THAT DANIEL had nothing to talk about with ALEJANDRO; THAT
   when asked if ALEJANDRO is homosexual, he says yes; THAT during the pandemic, BLENT and DANIEL went to live in
   CUBA, at which time they stayed fully with ALEJANDRO, who already worked for them; THAT when the pandemic ended,
   BLENT, DANIEL and their son returned to live in New York; THAT when they rettm1ed to NY, the person who paid
   ALEJANDRO was DANIEL's aunt who lives in Cuba, with money given by BLENT; THAT the declarant is unable to inforn1
   when and for what reason ALEJANDRO no longer worked for BLEND, but as he was security for the property in Havana, and
   as BLENT had put the house in the name of such aunt, she went to live in the property, saying that it was hers; THAT he
   believes that for this reason, BLENT fired ALEJANDRO, as he no longer needed his se1v ices; THAT BLENT was in Brazil
   last year (2023), having aiTived in Rio de Janeiro, on 07/19/2023, and leaving on 07/29/2023 ; THAT when BLENT was in RJ,
   in July/2023, he mentioned to the declarant that he was going to meet his fo1mer employee, ALEJANDRO; THAT the
   declarai1t did not know the reason why BLENT would meet ALEJANDRO; THAT the declarant knew that BLENT had gone
   to Cuba a few months ago; THAT when looking at BLENT's passp011, it appears that he aITived in Cuba on 10/ 14/2023; THAT
   there is no date of depa11llre from Cuba on BLENT's passp011; THAT BLENT did not say anything else about ALEJANDRO
   to the declai·ant; THAT the declarant does not know why ALEJANDRO killed BLENT; THAT it could be that ALEJANDRO
   ai1d BLENT were having an affair, despite not having colll1llented ai1ything about it; THAT BLENT helped ALEJANDRO
   finaiicially, as did to others; THAT BLENT was a generous person; THAT, when the images were collected at the scene of the
   incident, by the segment investigation team, on 01/16/2024, a keychain was found on the table in the house, the location of the
   incident, which was handed over to the declarant; TIIAT, in the aforementioned keychain, he had the entrance key to the
   house, and the key to the safe; THAT the declai·ai1t had the password for the safe, aIId not the key; THAT the safe in BLENT's
   house can be opened with a key, or with a password; THAT on the day the declarant found BLENT's body, on 01/15/2024, the
   militaiy police officer, reporting the incident, asked the declarant if she had his document; THAT the declai·ant said that she
   had BLENT's passpo11, and that it should be in the safe, and that the police officer then asked her to open it; THAT the
   declarai1t put on a glove, ai1d opened the safe, at which time she took the document, and that there was no money in the safe;
   THAT, as the declai·ant said previously, BLENT used to leave the money on the counter in his room, or in a round box that
   was also on the com1ter; THAT DANIEL and BLEND got maiTied on 12/09/1993, and that the dissolution of the mai1iage was
   in progress; THAT the de facto separation, between BLENT AND DANIEL, took place in Janua1y 2022; THAT after the
   separation, in 2022, BLENT, changed the will, placing all assets that were in DANIEL's name, in the name of his son; THAT
   BLENT had two wills, one made in New York, and the other made in relation to assets in Brazil; THAT BLENT, when he
   changed his will, sent it to the declarant; THAT DANIEL SIKKEMMA, he did not know the content of the change, but he
   knew that BLENT would make changes; THAT, in relation to the prope11ies in CUBA, one prope11y was already in the nanie
   of the son, and another in the name of an allllt of DANIEL; THAT yesterday, on 01/17/2024, the declarant passed the content
   of the will to DANIEL; THAT the dedarant does not know the password for BLENT's cell phone, as he always changed it;
   THAT the person who changed the password on BLENT's cell phone was the personal and BLENT's galle1y IT support;
   THAT the declarant spoke to the employee, MEG - +l (917) 2503616, who would speak to the person responsible about the
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   password; THAT, the decla.rant believes that BLENT was sleeping when he was stabbed; THAT BLENT had the habit of
   sleeping naked with a towel underneath his body, the way he was found; THAT he said nothing more;"
   The accused ALEJANDRO, a Cuban citizen, in index 413 confesses in detail to the crime of aggravated homicide, explaining
   all his past relationships with DANIEL SIKKEMA, the victim's ex-husband, pointing to him as the mediate author of the
   crin1e, the promises of reward made by DANIEL in exchange of the victim's death, the monetaiy transfers ah-eady made,
   denying, however, that he had taken any of the victim's belongings: THAT he provides his statement accompanied by his
   lawyers Dr. GREGORIO ANTONIO FERNANDES DE ANDRADE, OAB/MG: 166925 a11d Dr. EDNA FERREIRA DE
   CASTRO LOURENyO BARCELOS, OAB/RJ: 226784; THAT, in this act, he is aware of his constitutional rights, including
   to remain silent, but chooses to give his version of the facts; THAT he gives a statement inside the Joaquim Fen-eira de Souza
   Public Prison, where he is detained; THAT initially, the declarant would like to rep01t that he is extremely sony and is
   depressed due to the crime collllilitted against the victim BRENT SIKKEMA; THAT the declai·ant worked as a teacher at a
   polytechnic school in Havana, Cuba; THAT in 2019, his maternal grandfather passed away and the declarant needed more
   money to help suppo1t the family; THAT the declarant struts looking for a job on Facebook and found a vacai1cy to work as a
   security guard in a house located in the region known as Bosque, in Havana; THAT this region is swrnunded by Cuban
   militaiy bases; THAT the adve1tisement had been broadcast by DANIEL SIKKEMA, the victim's ex-husband; THAT it was
   DANIEL hinlselfwho inte1viewed and hired the declarant; THAT the declai·ant perf01med mandat01y militaiy se1vice in Cuba,
   having even joined the special forces of the Cuban army (Green Berets); THAT DANIEL knew this and, therefore, the
   declaraiu was recmited to guard the house in Bosque; THAT for most of the year, the house was empty, DANIEL, who lived
   in New York, only visited the property a few weeks during the yeai·; THAT despite the house being sun-otmded by militaiy
   bases, DANIEL feai·ed for his safety, due to the fact that he had dual citizenship: Cuban and Americai1; THAT, the fact that
   DANIEL was Ame1ican, had ren01111ced his Cubai1 citizenship, had maiTied ai1 Ame1ican ai1d was homosexual, was not well
   regarded by the Cuban regime, which left the prope1ty vulnerable to the commission of c1imes; THAT he worked in that house
   for a yeai· ai1d during that time he never saw BRENT SIKKEMA; THAT DANIEL visited the house only with LUCAS, the
   couple's son; THAT BRENT used to visit Guba, but never stayed at the Bosque house; THAT the declarant believes that
   BRENT never resided in Cuba; THAT BRENT had a penthouse in Havaiia that he believes is in the naine of DANIEL's
   cousin, whose name he cannot provide; THAT the declai·ant believes that Casa do Bosque is in the name of BRENT; THAT
   the declai·ant decides to come to Brazil, as the sala1y he received as a security guard was no longer enough to supp01t himself
   and his family; THAT, the declarai1t obtains a Brazilian visa in December 2021 ai1d moves to Brazil in September 2022,
   settling in a prope1ty in the city of Sao Paulo that belonged to ROSE REIS DE SOUZA, a friend of his mother; THAT, miving
   in Brazil, he spent approximately a month at ROSE's house and then moved to a kitnet that belonged to ROSE; THAT he paid
   about two months of rent to ROSE, w1til the moment she released him from paying her any amount; THAT the declai·ant
   supp01ted himself by doing odd jobs; THAT since he stopped working as a secwity guai·d, he stopped communicating with
   DANIEL and only resumed conta.c t in 2023; TIIAT he believes that in November 2022, ROSE gave the declarant a XIAOMI
   REDMI 9A phone, considering that the Sainsung J4 phone he brought from Cuba did not work well; THAT, during the
   activation of this new cell phone, the declarant downloaded his old contacts that were stored in the cloud; THAT he noticed
   DANIEL's contact, but only went to look for him in the middle of 2023; THAT, as HMM had not spoken to DANIEL for
   many months, the declai·ai1t decided to send a Whatsapp message to find out how DANIEL was doing; THAT DANIEL said he
   was going through a difficult divorce process with BRENT, to which the declarant responded that he could provide emotional
   suppo1t, ifnecessa1y; THAT about 10 minutes later, DANIEL calls the declai·ant and tells him all the problems he had with
   BRENT; THAT DANIEL complained about the low value of the pension that BRENT passed on to DANIEL; THAT DANIEL
   said that BRENT spent a lot of money on drngs, patties ai1d prostitutes and there wasn't enough left over to help suppo1t
   LUCAS; THAT DANIEL offered two thousand US dollars (USD 200,00.00) to the declarai1t if he agreed to kill BRENT;
   THAT, in addition, DANIEL also promised the declarai1t that he would help him financially with whatever the declarai1t
   needed; THAT DANIEL promised the declai·ant that he could live in the house located at Rua Abreu Fiallio, 13, in Jardin1
   Botanico, taking cai·e of the prope1ty as a cai·etaker; THAT the declai·ant said he would think about the proposal; THAT from
   New York, through the company Western Union, DANIEL sta1t s sending dollars to the declai·ant; THAT the first remittance
   was in the ammmt of three hundred US dollars (USD 300.00), the second one thousand US dollai·s (USD 1,000.00) and the
   others around five hundred US dollars (BRL 500.00) monthly; THAT the transfers, for the most pa1t, were sent by a man
   named PEDRO from New York; THAT the declarant believes that one of these trai1sfers was made in the name of DANIEL,
   but is not sme; THAT DANIEL had access to BRENT's AirBnB website acc01111t and, tln·ough this, was able to monitor the
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   victim's travels; THAT DANIEL inst:mcts the declarant to obtain a Brazilian driver's license, buy a new cell phone and inf01ms
   BRENT's data and address in Rio de Janeiro; THAT, the declarant was asked if he was intimate with DANIEL SIKKEMA,
   and responded that his contact with him was professional; WHO says that, over time, he became close to DANIEL'S son,
   LUCAS, and says that he felt affection for him; THAT he considers DANIEL to be a manipulative person; THAT DANIEL's
   contact on the declarant's cell phone was saved as "DANIEL BOSS" and also as "ZALGUIEN"; THAT .regarding the
   ZALGUIEN contact, the declara.nt states that it was DANIEL who instmcted him not to save him with his real name; THAT
   this is DANIEL's cunent contact in the United States; THAT DANIEL told the declarant to buy a cell phone chip, so that it
   could be enabled on the decla.ra.nt's phone and, in this way, the Whatsapp access code could be given to DANIEL; THAT the
   declarant did so and the CPF nmnber that would be used to .register the line was infonned by DANIEL; THAT DANIEL sent a
   photo of a document, which the decla.rant does not know what it is, but which contained the aforementioned info1mation;
   THAT the declarant does not .remember who the person holding the CPF was, only knowing that the first name was MARIA;
   THAT the declarant does not know who this MARY is; THAT DANIEL would use this line exclusively to communicate with
   the decla.rant via Whatsapp using a Wi-Fi network; THAT the calls and messages were always via Whatsapp and the contact
   name was RAIMUNDO DOMINGUEZ and the number was +55 (11) 99243-3295; THAT before July 2023 (he does not know
   when), DANIEL sends the declarant, by post, a copy of the key to the house located at Rua Abreu Fiall10, 13, Jardim Botanico;
   THAT DANIEL sends the key from New York and the declarant goes to pick it up at a DHL unit in Sao Paulo; THAT the
   declarant, in July or August 2023, comes to Rio de Janeiro with the intention of planning how he would cany out the crime;
   THAT the declarant stays in a house in Jardim Botil.nico, close to the victim's address, and expenses were paid with the dollars
   sent by DANIEL; THAT he rented the house through the AirBnB website; THAT at that time he was still deciding whether or
   not to accept DANIEL's proposal; THAT DANIEL had told the declarant that BRENT would not be home during this period;
   THAT he went to Rio de Janeiro and returned to Sao Paulo by bus; WHO returned to Rio de Janeiro in December 2023; THAT
   again went by bus and stayed; in a house in Ja.rdim Botanico, rented through AirBnB; THAT DANIEL had warned him that
   BRENT would be home this time; THAT the dedarant entered the residence using the key sent by DANIEL; THAT, inside the
   house, he called DANIEL and informed him that BRENT was sleeping in the room and that the door was locked; THAT
   DANIEL instructed the declarant to do something to get BRENT out of the room, but the declarant is still undecided; THAT
   the decla.rant turns off the residence's circuit breaker to force BRENT to leave the room; THAT the decla.rant notices that
   BRENT wakes up, but, ve1y nervous, the declarant decides to leave the house, without committing the homicide; THAT, the
   declarant states that DANIEL instmcted him to tell BRENT, if he was discovered inside the residence, that he was the son of
   SIMONE, his lawyer; THAT the declarant returns to Sao Paulo; THAT DANIEL gets upset with the declarant and stops
   sending him money, saying "IF YOU DON'T WANT TO DO THIS, DON'T DO IT, BUT FORGET THAT I EXIST"; THAT
   without receiving money from DANIEL, the declarant sta1is working making deliveries for the company Mercado Livre, using
   a FIATIPALIO that was lent to him by ROSE; THAT neither ROSE nor anyone in her family knew of the plan to murder
   DRENT; TIIAT, the declarant, finding himself without money to suppo1t himself and send to his family in Cuba, decides to
   accept DANIEL's proposal; THAT, taking advantage of the fact that ROSE's car was at her disposal, as she had traveled, the
   declarant leaves for Rio de Janeiro on 01/13/2024 early in the morning; THAT anives in Rio de Janeiro around 2pm and
   initially remains parked on a street pe1pendicular to Rua Abreu Fiallio; THAT, at around 4:30 pm, he parks the vehicle on Rua
   Abreu Fialho, close to BRENT's house; THAT at a ceriain point, he moves to the back seat of the vehicle so that he would not
   be seen by pedestrians; THAT, at around 3:30 am on 01/14/2024, the declarant noticed that the street was empty and decided
   to enter the residence and cany out the crime; THAT the decla.rant, using the key sent by DANIEL, enters the property; THAT
   DANIEL had warned the declarant that BRENT was at home and that he was only sleeping on medication; THAT the
   declarant entered quietly and searched eve1y room to ensure that BRENT was alone; THAT he went to the kitchen where he
   took tl1e knife used in tl1e crime from the cutlery; THAT he went up the stairs carefully so as not to make any noise and went to
   BRENT's room and, upon opening the door, found the victim lying on the bed; THAT he remembers stabbing the victim
   approximately four times; THAT, upon confirming tliat BRENT was dead, he covered him with the blanket, pillows and
   towels, considering that he did not want to look at the victim's face; THAT he returned to the kitchen, washed his hands and
   the knife in the sink and returned the knife to the cutle1y; THAT he left the house, got into tl1e car and returned to Sao Paulo;
   THAT ilmnediately after getti11g in the car, he calls the li11e +55 (1 1) 99243-3295 to speak to DANIEL, but he does not
   answer; THAT, around 7am on 01/1'1/202'1 , DANIEL calls the declarant and he tells him details of what happened; THAT
   DANIEL had said that he would get rid of the cell phone he used to conununicate with the declarant after the crilne; THAT
   DANIEL ilistmcted the decla.rant to delete tl1e call log, but the declara.nt did not do so; THAT he anived in Sao Paulo, went to
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   home, took a shower and tried to sleep, but he could not; THAT the declarant parks the PALIO at ROSE's house; THAT
   DANIEL contacts the decla.rant through the number of his .relative MAYRA, saying that the Rio de Janeiro police aheady had
   images of the declarant and the license plate of the car used; THAT DANIEL said that the decla.rant should leave Brazil;
   THAT, the declara.nt does an internet search and finds that the .news of BRENT's death had aheady been published in the
   media; That he saw images of himself and PALIO in the repo1ts; THAT, the declarant leaves Sao Paulo driving a PALI
   WEEKEND that he had purchased with the money sent by DANIEL; THAT the declarant canied with him three thousand US
   dollars (USD 3000.00) and three thousand and one hundred Brazilian Reais (BRL 3,100.00) that DANIEL had sent him by
   mail; That the declarant had purchased a crossbow on the Mercado Livre website for two thousand and three hundred Brazilian
   Reais (BRL 2,300.00) and planned to use it to kill BRENT; THAT he took the beast with him on 01/13/2024 and left it inside
   the car; THAT at a ce1tain point, he pulls the vehicle seat back to ann the crossbow; THAT the decla.rant gave up using the
   crossbow and chose to use a knife; WHO claims not to know BELKIS ZULUETA; THAT, to communicate with the declarant,
   DANIEL also used MAYRA's phone number, who is DANIEL's cousin or aunt; THAT DANIEL only sta1ted using MAYRA's
   contact number after the crime; THAT the declarant does not know MAYRA, but knows that she lives with DANIEL in New
   York; THAT DANIEL told the declarant that he was having problems with a cousin, whose name the declarant does not know;
   THAT BRENT would have transfened a property to this cousin, as no one can have more than one prope1ty in Havana; THAT
   the cousin had taken possession of the prope1ty and refused to leave; THAT DANIEL was looking for someone in Cuba who
   was willing to beat his cousin's husband and even asked ALEJANDRO for a recommendation; THAT this cousin asked for
   twenty thousand US dollars (BRL 20,000.00) to leave the house; THAT ALEJANDRO states that he did not steal any of
   BRENT's belongings from the residence; THAT the declarant said he did not see any money or safe in the house; THAT
   DANIEL told the declarant that he was concerned about the relationship that BRENT was maintaining with a Umguaya.n or
   Paraguayan citizen, and that this could in some way ha1m DANIEL in the distribution of assets; THAT the declarant planned
   to flee across the border with Pern. And he said nothing more."
   According to the Necropsy Rep01t: "(...) multiple angled, incised and pe1foroincised, linear wounds are obse1ved, some
   superficial (by sliding mechanism), others deep (by pressure and perforation mechanism), with regular edges and slopes,
   located on the face and tmnk, totaling eighteen (18) cutting and piercing actions; among the injuries, one was transverse in the
   ante1ior p01tion of the neck that did not reach the trachea or ce1vical vessels; the injuries that perforated are concentrated in the
   left hemithorax; there are no defensive injuries to the upper limbs(...)"
   This is a crime of concrete gravity, with great social repercussion, in the case of a foreign victim residing in Brazil, c01mnitted
   according to the evidence, for payment, for a futile reason and with several stab wounds, without the victim's defense.
   The accused are foreigners, DANIEL is in an unknown and tmk.nown location (supposedly abroad) and ALEJANDRO
   confesses that he intended to flee across the border with Peru after being discovered.
   h1 this way, there is evidence of authorship, despite the fact that imprisonment is an exceptional measure in the constitutional
   order, which is only justified to protect interests that ovenide the individual's ius libe1tatis, the circumstances that guide the
   investigation of the fact are rec01mne11ding the adoption of the precautionaiy measure, therefore I DECREATE THE
   PREVENTIVE PRISONS of ALEJANDRO TRIANA PREVEZ and DANIEL SIKKEMA, which I do based on aits. 311 ai1d
   312, of the Code of Criminal Procedure, to guarantee public order, for the convenience of criminal investigation and to
   guarantee the future application of crinlinal law, this being ai1 absolutely essential measure to protect the means and ends of
   this criminal action, the Precautionaiy Measures provided for in Alticle 319 of the CPP ai·e not sufficient.
   AlTest Wanants are issued, with a pe1iod of twenty (20) yeai·s for compliaiice, as well as due c01mnunications.
   3)      Considering that there is news that the accused DANIEL is abroad, send the An-est Wan·ant to hlte1pol's Red Notice,
   through the competent Federal Police channel. This court is now committed to requesting the extradition of the accused, in the
   event of his location and aiTest abroad.
   Considering the weekend and public holiday, as well as the possibility of the accused moving - also abroad - where he is
   supposed to be, send the Alrnst WaiTant, the main documents (Complaint; Decision; photo of the accused - if any; letter
   requesting inclusion, containing the legal transcript of the type of c1ime charged and the cormnitment made by this comt) to the
   Judicia1y Duty to establish contact with the competent sector of the Federal Police.
   4)      Let the paities know. Publish, Register, hlfonn and Comply.
   Rio de Janeiro, 09/02/202'1 .
   Signed: [Blank].
   Name: Tula Con-ea de Mello
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      TRANSLATION No. WT- 31180                                    BOOK No. 214                                     PAGE No. 007

   Title: Official Judge
   Case files received from Honorable Judge
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    NOTHING ELSE was contained in said original, which I return with this faithful translation. In
    WITNESS WHEREOF, I have here set my hand and seal of office, this March 20, 2024.

    Emoluments according to the law.

    This document has been digitally signed by Antonio Dari Antunes Zhbanova.
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